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       March 22, 2023

       Via ECF
       Honorable Ronnie Abrams, U.S.D.J.
       United States District Court
       Southern District of New York
       40 Foley Square
       New York, New York 10007

       Re:     Elfe v. 26 Motors Corp., et al., 22-CV-9385 (RA)

       Dear Judge Abrams:

       My office, together with co-counsel, represents the plaintiff, Glenn C. Elfe, in the
       above-referenced auto-fraud case against Defendants 26 Motors Corp, Kyle Merritt,
       Chino Germinal Lantigua, John Doe #3 a/k/a Manager, Wells Fargo Bank, N.A.,
       L.J. Marchese Chevrolet, Inc., and Michelle Bailey.

       I am writing to request that Your Honor grant an extension until May 22, 2023, of
       the deadline to make service on Defendant Chino Germinal Lantigua. I am making
       this request because the process server Plaintiff hired to make service at the
       employment address in Florida provided by Defendant 26 Motors Corp. has not
       been able to locate Mr. Lantigua. See Exhibit A, attached.

       Furthermore, the private detective Plaintiff hired to try to skip-trace Mr. Lantigua
       has been unable to find him based solely on the new work-address provided. The
       detective has requested more information—for example, Mr. Lantigua’s Social
       Security Number, his date of birth, or his prior residential address. Plaintiff
       requests that this Court not stay paper discovery, because it is precisely this paper
       discovery that will assist Plaintiff in tracking down and serving Mr. Lantigua. But
       depositions may have to wait until Mr. Lantigua has been joined, so he is not
       prejudiced and so that depositions do not have to be taken twice.

       Respectfully,

       /s/ Brian L. Bromberg
       Brian L. Bromberg

       cc:     All Attorneys of Records (Via ECF)
